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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

AMERICA’S HEALTH & RESOURCE                     )
CENTER, LTD., an Illinois Corporation,          )
individually and as the representative of a     )
class of similarly-situated persons,            )
                                                )
                          Plaintiff,            )
                                                ) Case No. 16-cv-4539
             v.                                 )
                                                ) Judge Thomas M. Durkin
ALCON LABORATORIES, INC.,                       )
NOVARTIS PHARMACEUTICALS                        )
CORPORATION, and JOHN DOES 1-12                 )
                                                )
                          Defendants.           )

                      AMENDED CLASS ACTION COMPLAINT

      Plaintiff, America’s Health & Resource Center, Ltd. (“Plaintiff”), brings this

action on behalf of itself and all other persons similarly situated and, except for

those allegations pertaining to Plaintiff or its attorneys, which are based upon

personal knowledge, alleges the following upon information and belief against

defendants    Alcon    Laboratories,    Inc.   (“Alcon”),   Novartis   Pharmaceuticals

Corporation (“Novartis”), and John Does 1-12 (collectively “Defendants”):

                           PRELIMINARY STATEMENT

      1.     Defendants have sent advertisements by facsimile in violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227, and the regulations the

Federal Communications Commission (“FCC”) has prescribed thereunder, 47 C.F.R.

§ 64.1200 (collectively, the “TCPA”).

      2.     Defendants sent Plaintiff at least 2 advertisements by facsimile and in
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violation of the TCPA. Exhibit A and Exhibit B.

      3.     Plaintiff brings this action on behalf of itself and a class of all

similarly-situated persons, and against Defendants, seeking statutory damages for

each violation of the TCPA, trebling of the statutory damages, injunctive relief,

compensation and attorney fees (under the conversion count), and all other relief

the Court deems appropriate under the circumstances.

      4.     Unsolicited faxes cause damage to their recipients. A junk fax recipient

loses the use of its fax machine, paper, and ink toner. Unsolicited faxes tie up the

telephone lines, prevent fax machines from receiving authorized faxes, prevent their

use for authorized outgoing faxes, cause undue wear and tear on the recipients’ fax

machines, and require additional labor to attempt to discern the source and purpose

of the unsolicited message. Moreover, a junk fax interrupts the recipient’s privacy.

An unsolicited fax wastes the recipient’s valuable time that would have been spent

on something else.

                     PARTIES, JURISDICTION, AND VENUE

      5.     Plaintiff is an Illinois corporation with its principal place of business in

Cook County, Illinois.

      6.     On information and belief, Alcon is a Delaware corporation with its

principal place of business in Fort Worth, Texas.

      7.     On information and belief, Novartis is a Delaware corporation with its

principal place of business in Hanover, New Jersey.

      8.     John Doe Defendants 1-12 are persons yet unknown to Plaintiff that




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actively participated in the transmission of fax advertisements to the class, or

benefitted from those transmissions.

      9.     The Court has subject matter jurisdiction under 28 U.S.C. § 1331 and

47 U.S.C. § 227.

      10.    Personal jurisdiction exists over Defendants in Illinois because

Defendants have transacted business and committed tortious acts within the State.

      11.    Venue is proper in the Northern District of Illinois because Defendants

committed statutory torts within this District and a significant portion of the events

took place here.

                                       FACTS

      12.    Defendants sent advertisements by facsimile to Plaintiff and a class of

similarly-situated persons. Whether Defendants did so directly or with the

assistance of a third party (yet unknown to Plaintiff), Defendants are directly liable

for violating the TCPA.

      13.    Plaintiff has received at least two of Defendants’ advertisements by

facsimile. True and correct copies of faxes received in January 2016 are attached as

Exhibit A and Exhibit B. Plaintiff intends to discover the number of other

Defendants’ advertisements sent to Plaintiff by fax.

      14.    Exhibit A and Exhibit B are four-page documents advertising

Defendants’ “Ilevro” and “Ciprodex” medications, respectively. Each promotes the

commercial availability or quality of goods, products or services from Defendants.

Each provides information about the benefits of these medications, instructions for




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using them, and methods for contacting Defendants to receive discounts and

samples.

      15.    Exhibit A and Exhibit B each state, “From: Alcon.”

      16.    Exhibit A and Exhibit B each contain language claiming Novartis’s

copyright in the advertisement form. Exhibit A states in fine print at the bottom of

the first page, “ © 2015 Novartis 10/15 US-ILV-15-B-0363a.” Exhibit B states in fine

print at the bottom of the first page, “© 2015 Novartis 7/15 CDX15027FX-C.”

      17.    Plaintiff did not expressly invite or give permission to anyone to send

Exhibit A or Exhibit B to Plaintiff’s fax machine.

      18.    On information and belief, Defendants sent advertisements by

facsimile to Plaintiff and more than 39 other persons in violation of the TCPA.

      19.    Plaintiff and the other class members owe no obligation to protect their

fax machines from Defendants. Their fax machines are ready to send and receive

their urgent communications, or private communications about patients’ medical

needs, not to receive Defendants’ unlawful advertisements.

                          CLASS ACTION ALLEGATIONS

      20.    Plaintiff brings this action as a class action on behalf of itself and all

others similarly situated as members of a class, initially defined as follows:

      Each person that was sent one or more telephone facsimile messages
      promoting the commercial availability or quality of property, goods, or
      services offered by “Alcon” or “Novartis,” but not stating on the first
      page that the fax recipient may make a request to the sender not to
      send any future ads and that failure to comply, within 30 days, with
      such a request is unlawful.

Plaintiff expressly reserves the right to modify the proposed class definition or



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propose subclasses.

      21.    Excluded from the class are Defendants, any entity in which

Defendants have a controlling interest, each of Defendants’ officers, directors, legal

representatives, heirs, successors, and assigns, and any Judge assigned to this

action, including his or her immediate family.

      22.    On information and belief, Defendants’ fax advertising campaigns

involved other, substantially-similar advertisements also sent without the opt-out

notice required by the TCPA. Plaintiff intends to locate those advertisements in

discovery.

      23.    This action is brought and may properly be maintained as a class

action pursuant to Fed. R. Civ. P. 23. This action satisfies Rule 23 (a)’s numerosity,

commonality, typicality, adequacy requirements. Additionally, prosecution of

Plaintiff’s claims separately from the putative class’s claims would create a risk of

inconsistent or varying adjudications under Rule 23 (b) (1) (A). Furthermore, the

questions of law or fact that are common in this action predominate over any

individual questions of law or fact making class representation the superior method

to adjudicate this controversy under Rule 23 (b) (3).

      24.    Numerosity/impracticality of joinder. On information and belief, the

class consists of more than 39 persons and, thus, is so numerous that individual

joinder of each member is impracticable. The precise number of class members and

their identities are unknown to Plaintiff, but will be obtained from Defendants’

records or the records of third parties.




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      25.    Commonality and predominance. There is a well-defined community of

interest and common questions of law and fact that predominate over any questions

affecting only individual members of the class. These common legal and factual

questions, which do not vary from one class member to another, and which may be

determined without reference to the individual circumstances of any class member,

include, but are not limited to the following:

             a.     Whether     Defendants       sent   advertisements   by   facsimile

      promoting the commercial availability or quality of property, goods, or

      services;

             b.     Whether Exhibit A, Exhibit B, or other yet-to-be-discovered

      facsimiles advertised the commercial availability or quality of either

      Defendant’s property, goods or services;

             c.     The manner and method Defendants used to compile or obtain

      the lists of fax numbers to which they sent the faxes contained in Exhibits A

      and B and other fax advertisements;

             d.     Whether the opt-out notices on Defendants’ fax advertisements

      violated the TCPA;

             e.     Whether each Defendant is primarily liable for violating the

      TCPA;

             f.     Whether Plaintiff and the other class members are entitled to

      statutory damages;

             g.     If the Court finds that Defendant(s) willfully or knowingly




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      violated the TCPA, whether the Court should exercise its discretion to

      increase the amount of the statutory damages award to an amount equal to

      not more than 3 times the amount;

             h.     Whether the Court should enjoin Defendants from faxing

      advertisements in the future; and

             i.     Whether Defendants’ conduct as alleged herein constituted

      conversion.

      26.    Typicality of claims. Plaintiff’s claims are typical of the claims of the

other class members, because Plaintiff and all class members were injured by the

same wrongful practices. Plaintiff and the members of the class received

Defendants’ advertisements by facsimile and those advertisements did not contain

the opt-out notice required by the TCPA. Under the facts of this case, because the

focus is upon Defendants’ conduct, if Plaintiff prevails on its claims, then the

putative class members will prevail as well.

      27.    Adequacy of representation. Plaintiff is an adequate representative of

the class because its interests do not conflict with the interests of the class it seeks

to represent. Plaintiff has retained counsel competent and experienced in complex

class action litigation, and TCPA litigation in particular, and Plaintiff intends to

vigorously prosecute this action. Plaintiff and its counsel will fairly and adequately

protect the interest of members of the class.

      28.    Prosecution of separate claims would yield inconsistent results. Even

though the questions of fact and law in this action are predominantly common to




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Plaintiff and the putative class members, separate adjudication of each class

member’s claims would yield inconsistent and varying adjudications. Such

inconsistent rulings would create incompatible standards for Defendants to operate

under if/when class members bring additional lawsuits concerning the same

unsolicited fax advertisements of if Defendants choose to advertise by fax again in

the future.

      29.       A class action is the superior method of adjudicating the common

questions of law or fact that predominate over individual questions. A class action is

superior to other available methods for the fair and efficient adjudication of this

lawsuit, because individual litigation of the claims of all class members is

economically unfeasible and procedurally impracticable. The likelihood of individual

class members prosecuting separate claims is remote, and even if every class

member could afford individual litigation, the court system would be unduly

burdened by individual litigation of such cases. Plaintiff knows of no difficulty to be

encountered in the management of this action that would preclude its maintenance

as a class action. Relief concerning Plaintiff’s rights under the laws herein alleged

and with respect to the class would be proper. Plaintiff envisions no difficulty in the

management of this action as a class action.

                           COUNT I
         TELEPHONE CONSUMER PROTECTION ACT, 47 U.S.C. § 227

      30.       Plaintiff incorporates the preceding paragraphs as though fully set

forth herein.

      31.       Plaintiff brings Count I on behalf of itself and a class of similarly



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situated persons against Defendants.

      32.    The TCPA prohibits the “use of any telephone facsimile machine,

computer or other device to send an unsolicited advertisement to a telephone

facsimile machine….” 47 U.S.C. § 227 (b) (1).

      33.    The TCPA defines “unsolicited advertisement,” as “any material

advertising the commercial availability or quality of any property, goods, or services

which is transmitted to any person without that person’s express invitation or

permission.” 47 U.S.C. § 227 (a) (4).

      34.    The TCPA provides a private right of action as follows:

                    3.     Private right of action. A person may, if
             otherwise permitted by the laws or rules of court of a
             state, bring in an appropriate court of that state:

                          (A)    An action based on a violation of this
                    subsection or the regulations prescribed under this
                    subsection to enjoin such violation,

                           (B)     An action to recover for actual
                    monetary loss from such a violation, or to receive
                    $500 in damages for each such violation, whichever
                    is greater, or

                           (C)   Both such actions.

47 U.S.C. § 227 (b) (3).

      35.    The Court, in its discretion, may treble the statutory damages if a

violation was knowing or willful. 47 U.S.C. § 227 (b) (3).

      36.    Here, Defendants violated 47 U.S.C. § 227 (b) (1) (C) by sending

advertisements by facsimile (such as Exhibits A and B) to Plaintiff and the other

class members without first obtaining their prior express invitation or permission.



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      37.    The TCPA requires that every advertisement sent by facsimile must

include an opt-out notice clearly and conspicuously displayed on the bottom of its

first page. 47 C.F.R. § 64.1200 (a) (4).

      38.    Neither Exhibit A nor Exhibit B contains the clear and conspicuous

opt-out notice required by the TCPA. Each states in tiny print, “To have your fax

number removed from our database, call this toll-free number 1-888-681-5252, enter

document number 700271 and follow the prompts, or fax 1-888-248-5116.”

      39.    Defendants failed to include a clear and conspicuous opt-out notice on

each of their fax advertisements. Instead, Defendants’ notices are in tiny print,

hidden in or beneath other text. E.g., Exhibit A; Exhibit B.

      40.    Neither Exhibit A nor Exhibit B provides all of the information the

TCPA requires for a compliant opt-out notice. Each fails to state on the

advertisement’s first page that the recipient may make a request to the sender not

to send any future advertisement by facsimile and that the sender’s failure to

comply within 30 days is unlawful.

      41.    Defendants violated the TCPA by failing to state on the first page of

each fax advertisement that their failure to comply with an opt-out request within

30 days would be unlawful. E.g., Exhibit A; Exhibit B.

      42.    Facsimile advertising imposes burdens on recipients that are distinct

from the burdens imposed by other types of advertising. The required opt-out notice

provides recipients the necessary information to opt-out of future fax transmissions,

including a notice that the sender’s failure to comply with the opt-out request will




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be unlawful. 47 C.F.R. § 64.1200 (a) (4).

       43.       Defendants’ failure to include a compliant opt-out notice on their fax

advertisements makes irrelevant any express consent or established business

relationship (“EBR”) that otherwise might have justified Defendants’ fax

advertising campaigns. 47 C.F.R. § 64.1200 (a) (4).

       44.       The TCPA is a strict liability statute and Defendants are liable to

Plaintiff and the other class members even if their actions were negligent. 47 U.S.C.

§ 227 (b) (3).

       45.       Even if Defendants did not intend to injure Plaintiff and the other

class members, did not intend to violate their privacy, and did not intend to waste

their valuable time with Defendants’ advertisements, those facts are irrelevant

because the TCPA is a strict liability statute.

       46.       If Defendants’ actions were knowing or purposeful, then the Court has

the discretion to increase the statutory damages up to 3 times the amount. 47

U.S.C. § 227 (b) (3).

       47.       Each Defendant is liable for the fax advertisements at issue because it

sent the faxes, caused the faxes to be sent, participated in the activity giving rise to

or constituting the violation, the faxes were sent on its behalf, or under general

principles of vicarious liability, including actual authority, apparent authority and

ratification.

       48.       Defendants knew or should have known that Plaintiff and the other

class members had not given express invitation or permission for Defendants or




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anybody else to fax advertisements about Defendants’ goods, products, or services,

that Plaintiff and the other class members did not have an established business

relationship with Defendants, that Exhibits A and B are advertisements, and that

Exhibits A and B did not display compliant opt-out notices as required by the

TCPA.

      49.    Defendants’ actions damaged Plaintiff and the other class members.

Receiving Defendants’ junk faxes caused the recipients to lose paper and toner

consumed in the printing of Defendants’ faxes. Moreover, the subject faxes used

Plaintiff’s and the class’s fax machines. The subject faxes cost Plaintiff time, as

Plaintiff and its employees wasted their time receiving, reviewing and routing

Defendants’ illegal faxes. That time otherwise would have been spent on Plaintiff’s

business activities. Defendants’ faxes unlawfully interrupted Plaintiff and the other

class members’ privacy interests in being left alone. Finally, the injury and property

damage sustained by Plaintiff and the other class members from the sending of

unlawful fax advertisements occurred outside Defendants’ premises.

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment in its favor and against Defendants, jointly and

severally as follows:

      A.     That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiff as the representative of the

class, and appoint Plaintiff’s counsel as counsel for the class;

      B.     That the Court award $500.00 in statutory damages for each violation




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of the TCPA or the FCC’s regulations;

       C.     That, if it finds Defendant(s) willfully or knowingly violated the

TCPA’s faxing prohibitions or the FCC’s regulations prescribed thereunder, the

Court exercise its discretion to increase the amount of the statutory damages award

to an amount equal to not more than 3 times the amount.

       D.     That the Court enter an injunction prohibiting Defendants from

engaging in the statutory violations at issue in this action; and

       E.     That the Court award costs and such further relief as the Court may

deem just and proper.

                                     COUNT II
                                   CONVERSION

       50.    Plaintiff incorporates by reference all preceding paragraphs as though

fully set forth herein.

       51.    Plaintiff brings Count II on behalf of itself and a class of similarly

situated persons and against Defendants.

       52.    By sending advertisements to their fax machines, Defendants

improperly and unlawfully converted the class’s fax machines to Defendants’ own

use. Where printed (as in Plaintiff’s case), Defendants also improperly and

unlawfully converted the class members’ paper and toner to Defendants’ own use.

Defendants also converted Plaintiff’s time to Defendants’ own use, as they did with

the valuable time of the other class members.

       53.    Immediately prior to the sending of the unsolicited faxes, Plaintiff and

the other class members each owned an unqualified and immediate right to



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possession of their fax machines, paper, toner, and employee time.

      54.    By    sending    them    unsolicited   faxes,   Defendants   permanently

misappropriated the class members’ fax machines, toner, paper, and employee time

to their own use. Such misappropriation was wrongful and without authorization.

      55.    Defendants knew or should have known that their misappropriation of

paper, toner, and employee time was wrongful and without authorization.

      56.    Plaintiff and the other class members were deprived of the use of the

fax machines, paper, toner, and employee time, which could no longer be used for

any other purpose. Plaintiff and each class member thereby suffered damages as a

result of their receipt of unsolicited fax advertisements from Defendants.

      57.    Each of Defendants’ unsolicited faxes effectively stole Plaintiff’s

employees’ time because persons employed by Plaintiff were involved in receiving,

routing, and reviewing Defendants’ illegal faxes. Defendants knew or should have

known employees’ time is valuable to Plaintiff.

      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, demands judgment in its favor and against Defendants, jointly and

severally as follows:

      A.     That the Court adjudge and decree that the present case may be

properly maintained as a class action, appoint Plaintiff as the representative of the

class, and appoint Plaintiff’s counsel as counsel for the class;

      B.     That the Court award appropriate damages;

      C.     That the Court award punitive damages;




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      D.    That the Court award attorney’s fees;

      E.    That the Court award costs of suit; and

      F.    That the Court award such further relief as it may deem just and

proper under the circumstances.

                                     Respectfully submitted,

                                     AMERICA’S HEALTH & RESOURCE
                                     CENTER, LTD., an Illinois Corporation,
                                     individually and as the representative of a
                                     class of similarly-situated persons

                                     By: /s/ Phillip A. Bock

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                                CERTIFICATE OF SERVICE
       The undersigned attorney certifies that on August 25, 2016, the foregoing Amended
Class Action Complaint was electronically filed with the Clerk of Court by using the CM/ECF
system, which provides electronic notice to all counsel of record:

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                                                   /s/ Phillip A. Bock
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